                                   UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF TENNESSEE

                                                  Mediator Report

Mediator Name:             John L. Farringer IV

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Case No.:            3:20-cv-01064

Case Name:          SEC v. Capwealth Advisors, LLC, et al.

Date(s) of Mediation:           August 30, 2022

                                              Reporting Instructions

A. Mediators must file this report within two (2) business days following the mediation. L.R.
   16.05(b). A mediation which continues over multiple consecutive days is considered one
   mediation for reporting purposes. File a separate Report when the mediation is recessed for
   five (5) business days or more.

B. Mediators must treat all information revealed in mediation as confidential, except for (i)
   information that is required to be reported by statute, regulation, or rule or (ii) information the
   parties agree may be disclosed.

C. Do not disclose in this Report any information not otherwise requested below.

D. Please file this form electronically in CM/ECF using the “Report of Mediation” event (located
   under “ADR Documents”). If you are not a CM/ECF User, please email the Report to the
   following address: OperationsManager@tnmd.uscourts.gov.

                                                        Report

 Did all required parties attend the mediation?<HV1R
                                                                  X

 Did the case settle?<HV1R X

    D If so, by what date do the parties propose filing a notice, stipulation, or proposed order of
       dismissal with the Court?

 Was the mediation continued with the consent of the parties?<HV1R X

    D If so, to what date(s)?

Comments (see above for restrictions on disclosure of information):




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